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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

LYNDA B. HARRIS,

                              Plaintiff,

v.                                                           Civil Action No. 3:20cv625

AMERICAN CORADIUS INTERNATIONAL LLC,

                              Defendant.


                          NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff, by counsel, hereby

files this Notice of Voluntary Dismissal with prejudice, and notifies Defendant American

Coradius International LLC that Plaintiff hereby voluntarily dismisses her action.

        Plaintiff may voluntarily dismiss her action at this time without order of Court because

the Plaintiff has not been served with an Answer or a Motion for Summary Judgment by the

adverse party.
                                                     Respectfully submitted,
                                                     LYNDA B. HARRIS
                                                     By Counsel

_/s/______________________________
Dale W. Pittman, VSB #15673
Counsel for Plaintiff
THE LAW OFFICE OF DALE W. PITTMAN, P.C.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of October, 2020, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to all parties.

                                      _/s/___________________________________
                                      By: Dale W. Pittman, VSB#15673
                                      Counsel for Plaintiff
                                      THE LAW OFFICE OF DALE W. PITTMAN, P.C.
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